                 Case 2:20-cr-00168-JCC Document 15 Filed 11/06/20 Page 1 of 3




                                                        THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   UNITED STATES OF AMERICA,                                 CASE NO. CR20-0168-JCC
10                              Plaintiff,                     ORDER
11          v.

12   GREGORY TIFT,

13                              Defendant.
14

15          This matter comes before the Court on Defendant Gregory Tift and the Government’s
16   stipulated motion to continue trial (Dkt. No. 13). On September 30, 2020, Defendant was
17   charged by indictment with conspiracy to distribute controlled substances and possession of
18   controlled substances with intent to distribute. (Dkt. No. 3.) The current trial date is December 7,
19   2020. (Dkt. No. 10.) Having thoroughly considered the motion and the relevant record, the Court
20   hereby GRANTS the motion for the reasons explained herein.
21          The parties agree that this matter, which arises from a lengthy investigation into a dark
22   web drug distribution vendor, is complex and that discovery will be voluminous as the
23   Government intends to produce surveillance images and contents from cellphones and electronic
24   devices seized pursuant to search warrants. (Dkt. No. 13 at 2.) The parties also agree that the
25   COVID-19 pandemic makes it more difficult for defense counsel to communicate with his client
26   about the risks and benefits of proceeding to trial. (Id.) Therefore, the parties request that the


     ORDER
     CR20-0168-JCC
     PAGE - 1
               Case 2:20-cr-00168-JCC Document 15 Filed 11/06/20 Page 2 of 3




 1   Court continue trial to May 17, 2021 to ensure defense counsel has adequate time to review

 2   discovery and conduct the necessary investigation to prepare an appropriate defense. (See

 3   generally Dkt. No. 13.) Defendant has filed a waiver of his speedy trial rights up to and including

 4   May 31, 2021. (Dkt. No. 14.)

 5          In addition to affecting communication between defendants and their counsel, the

 6   COVID-19 pandemic has significantly impacted the Court’s operations. (See General Orders 01-

 7   20, 02-20, 07-20, 08-20, 11-20, 13-20, 15-20 each of which the Court incorporates by reference.)

 8   Specifically, the pandemic has made it difficult for the Court to obtain an adequate spectrum of

 9   jurors to represent a fair cross section of the community, and public health guidance has

10   impacted the ability of jurors, witnesses, counsel, and Court staff to be present in the courtroom.

11   (See generally id.)

12          Having thoroughly considered the briefing and the relevant record, the Court FINDS that

13   the ends of justice served by granting a continuance outweigh the best interests of Defendant and

14   the public to a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). The reasons for this finding are:

15          1. Taking into account the exercise of due diligence, the failure to grant a continuance

16              would deny Defendant’s counsel reasonable time necessary for effective preparation,

17              see 18 U.S.C. § 3161(h)(7)(B)(iv), and would therefore result in a miscarriage of

18              justice, see 18 U.S.C. § 3161(h)(7)(B)(i).
19          2. This case is sufficiently complex that it is unreasonable to expect adequate

20              preparation for trial within the time limits established by the Speedy Trial Act. See 18

21              U.S.C. § 3161(h)(7)(B)(ii).

22          3. The COVID-19 pandemic has made it difficult for the Court to obtain an adequate

23              spectrum of jurors to represent a fair cross section of the community, which would

24              likely make proceeding on the current case schedule impossible or would result in a

25              miscarriage of justice. See 18 U.S.C. § 3161(h)(7)(B)(i).

26          4. Public health guidance has impacted the ability of jurors, witnesses, counsel, and


     ORDER
     CR20-0168-JCC
     PAGE - 2
              Case 2:20-cr-00168-JCC Document 15 Filed 11/06/20 Page 3 of 3




 1             Court staff to be present in the courtroom. Therefore, proceeding with the current trial

 2             date would likely be impossible. See 18 U.S.C. § 3161(h)(7)(B)(i).

 3   Accordingly, the Court ORDERS:

 4         1. The December 7, 2020 jury trial is CONTINUED until May 17, 2021.

 5         2. The October 29, 2020 pretrial motions deadline is CONTINUED until April 5, 2021.

 6         3. The period from the date of this order until May 17, 2021 is an excludable time

 7             period under 18 U.S.C. § 3161(h)(7)(A).

 8         DATED this 6th day of November 2020.




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                                                         John C. Coughenour
12                                                       UNITED STATES DISTRICT JUDGE
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     ORDER
     CR20-0168-JCC
     PAGE - 3
